     Case 8:20-cv-01303-VEB Document 24 Filed 10/25/21 Page 1 of 2 Page ID #:950




1                                                        JS-6

2

3

4

5
                          UNITED STATES DISTRICT COURT
6
                        CENTRAL DISTRICT OF CALIFORNIA
7

8
     CYNTHIA W.S.,                                 Case No. 8:20-CV-01303 (VEB)
9
                            Plaintiff,             JUDGMENT
10
     vs.
11
     KILOLO KIJAKAZI, Acting
     Commissioner of Social Security,
12
                            Defendant.
13

14
           For the reasons set forth in the accompanying Decision and Order, it is hereby
15
     DECREED THAT (1) Plaintiff’s request for an order remanding this case for further
16
     proceedings is GRANTED and the Commissioner’s decision is REVERSED; (2) the
17
     Commissioner’s request for an order affirming the Commissioner’s final decision and
18
     dismissing the action is DENIED; (3) judgment is entered in Plaintiff’s favor and this
19

20                                             1

                  JUDGMENT – CYNTHIA W.S. v KIJAKAZI 8:20-CV-01303-VEB
     Case 8:20-cv-01303-VEB Document 24 Filed 10/25/21 Page 2 of 2 Page ID #:951




1    case is REMANDED for calculation of benefits; and (4) this case is CLOSED without

2    prejudice to a timely application for attorneys’ fees and costs.

3          DATED this 25th day of October, 2021,

4                                                 /s/Victor E. Bianchini
                                                 VICTOR E. BIANCHINI
5                                            UNITED STATES MAGISTRATE JUDGE

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20                                              2

                  JUDGMENT – CYNTHIA W.S. v KIJAKAZI 8:20-CV-01303-VEB
